                                UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF OREGON

In re                                     )
Sunshine Dairy Foods                      )             18-31644-pcm11
                                              Case No. _________________
Management, LLC; and                      )
Karamanos Holdings, Inc.                  )   NOTICE OF FINAL
                                          )   HEARING ON MOTION
                                          )     FOR USE OF CASH COLLATERAL
                                          )     TO OBTAIN CREDIT
Debtor(s)                                 )   (Check One)

YOU ARE NOTIFIED THAT:

1. The undersigned moving party, ______________________________________________,
                                    Sunshine Dairy Foods Management, LLC                     filed a
Motion     For Use of Cash Collateral    To Obtain Credit (check one). A copy of the motion, which
includes the statement required by Local Form #541.5, is attached.

2.   The name and service address of the moving party's attorney (or moving party, if no attorney) are:
_________________________________________________________________________________.
Douglas R. Ricks, Vanden Bos & Chapman, LLP, 319 SW Washington, Ste 520, Portland, OR 97204

3. A FINAL HEARING on the motion WILL BE HELD ON ________________  06/06/18        AT_______________
                                                                                          9:30 a.m.
   Courtroom  No. 1, U.S. Bankruptcy  Court, 1001 SW  5th Ave., Ste. 700, Portland,
IN _______________________________________________________________________________, OR 97204
Testimony will be received if offered and admissible.

4. If you wish to object to the motion, you must, within 14 days of the service date shown in pt. 5 below,
file with the Clerk of Court (i.e., if the 5-digit portion of the Case No. begins with "3" or "4", mail to 1001
SW 5th Ave #700, Portland OR 97204; or if it begins with "6" or "7", mail to 405 E 8th Ave #2600, Eugene
OR 97401): (1) a written response which states the facts upon which you will rely, and (2) a certificate
showing a copy of the response has been served on the U.S. Trustee and the party named in pt. 2
above.

5. On __________
           05/23/18 copies of this notice and the motion were served pursuant to FRBP 7004 on the
debtor(s); any debtor's attorney; any trustee; any trustee's attorney; members of any committee elected
pursuant to 11 U.S.C. §705; any creditors' committee chairperson [or, if none serving, on all creditors
listed on the list filed pursuant to FRBP 1007(d)]; any creditors' committee attorney; the U.S. Trustee;
and all affected lien holders whose names and addresses used for service are as follows:

See attached list.




                          /s/Douglas R. Ricks                                                  #044026
                         Signature of Moving Party or Attorney                              OSB #
                         801 NE 21st Ave., Portland, OR 97232 -- XX-XXX6415
                         ______________________________________________________________
                         (If debtor is movant) Debtor’s Address & Taxpayer ID#(s) (last 4 digits)

541 (6/1/15)


                           Case 18-31644-pcm11         Doc 140     Filed 05/23/18
In re Sunshine Dairy Foods Management, LLC;
Bankruptcy Case No. 18-31644-pcm11
Service List

Debtor:                                       First Business Capital Corp.     LCA Bank Corporation
                                              c/o Chuck Batson, President &    1375 Deer Valley Drive, Ste. 218
Sunshine Dairy Foods Management, LLC          CEO 401 Charmany Dr              Park City UT 84060
Attn: Norman Davidson, III                    Madison, Wi 53719
801 NE 21st Ave.                                                               LCA Bank Corporation
Portland, OR 97232                            Elm Services                     c/o Thomas T. Billings, Registered
                                              PO Box 15270                     Agent
Unsecured Creditors Committee:                Irvine, CA 92623-5270            15 West South Temple Ste 1700
                                                                               Salt Lake City, UT 84101
Valley Falls Farm, LLC                        EverBank Commercial
c/o Bryan P. Coluccio, V.P./General Counsel   Finance, Inc.                    Multnomah Assessment & Taxation
Keystone-Pacific, LLC                         10 Waterview Blvd.               501 SE Hawthorne,1st Floor
18555 SW Teton Avenue                         Parsippany, NJ 07054             P.O. Box 5007
Tualatin, OR 97062                                                             Portland, OR 97208
        Committee Chair                       EverBank Commercial
                                              Finance, Inc.                    Multnomah County Tax Assessor
High Desert Milk                              c/o Frederick Wolfert, CEO       Attn Angelika Loomis, Agent
c/o Steven Tarbet, CFO                        10 Waterview Blvd.               PO Box 2716
1033 Idaho Avenue                             Parsippany, NJ 07054             Portland, OR 97208-2716
Burley, ID 83318
                                              Banc of California, NA           Electronic Mail:
Electric Inc.                                 18500 Von Karman Ave.
c/o Christopher C. Winston, President         Ste 1100                         The foregoing was served on all
P.O. Box 820386                               Irvine, CA 92612                 CM/ECF participants through the
Vancouver, WA 98682                                                            Court's Case Management/
                                              Banc of California, NA           Electronic Case File system.
Ernest Packaging Solutions                    c/o Doug Bowers, CEO
c/o Jennifer Delgadillo                       3 Macarthur Place
Director of Corp. Credit                      Santa Ana, CA 92707
5777 Smith Way St.
Commerce, CA 90040                            ADS Group
                                              PO Box 15270
Stiebrs Farms, Inc                            Irvine, CA 92623
c/o Janis E. Stiebrs, President
P.O. Box 598                                  TCF Equipment Finance
Yelm, WA 98597                                11100 Wayzata Blvd. #801
                                              Minnetonka, MN 55305
Lien Holders:
                                              TCF Equipment Finance
Citibank, N.A.                                c/o Gary A. Peterson,
388 Greenwich St., 25th Flr,                  President/CEO
Mail Drop 7                                   11100 Wayzata Blvd. #801
New York, NY 10013                            Minnetonka, MN 55305

Citibank, NA                                  Strada Capital Corporation
c/o Barbara Desoer - CEO                      23046 Avenida de la Carlota,
701 East 60th Street North                    Ste 350
Sioux Falls, SD 57104                         Laguna Hills, CA 92653;

First Business Capital Corp.                  Strada Capital Corporation
401 Charmany Dr.                              c/o Christopher Parsons, R.A.
Madison, WI 53719                             23046 Avenida de la Carlota,
                                              Ste 350
                                              Laguna Hills, CA 92653




                          Case 18-31644-pcm11           Doc 140        Filed 05/23/18
      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4861
      Fax: 503-241-3731

      Of Attorneys for Debtor-in-Possession

      Nicholas J Henderson, OSB #074027
      MOTSCHENBACHER & BLATTNER LLP
      117 SW Taylor St., Ste. 300
      Portland, OR 97204
      Telephone: 503-417-0508
      Fax: 503-417-0528
      Email: nhenderson@portlaw.com

      Of Attorneys for Karamanos Holdings, Inc.
      (Proposed Joint Debtor-in-Possession – Motion Pending)


                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                              Bankruptcy Case Nos.:

       Sunshine Dairy Foods Management, LLC;              18-31644-pcm11 (Lead Case)
       and
       Karamanos Holdings, Inc.                           18-31646-pcm11

                                                          JOINT MOTION FOR FINAL ORDER
                                                          AUTHORIZING USE OF CASH
                                                          COLLATERAL OF DEBTORS-IN-
                                                          POSSESSION AND GRANTING
                      Debtors-in-Possession               ADEQUATE PROTECTION

               Debtors-in-Possession Sunshine Dairy Foods Management, LLC (“Sunshine”) and

      Karamanos Holdings, Inc. (“Karamanos”) (collectively “Debtors”), pursuant to Sections

      105(a) and 363 of the Bankruptcy Code, Bankruptcy Rule 4001, and LBR 4001-1.D., move

      the Court for entry of a final order authorizing use of cash collateral as defined by 363(a) of

      the Bankruptcy Code ("Cash Collateral"), and, in support, represent and state as follows:


Page 1 of 8    JOINT MOTION FOR FINAL ORDER AUTHORIZING USE OF CASH             VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
               COLLATERAL OF DEBTORS-IN-POSSESSION AND GRANTING                   319 SW Washington Street, Suite 520
                                                                                     Portland, Oregon 97204-2690
               ADEQUATE PROTECTION                                                          (503) 241-4869

                         Case 18-31644-pcm11        Doc 140    Filed 05/23/18
              1.    On May 9, 2018 (the “Petition Date”), Debtors commenced a reorganization

      case by the filing of a voluntary petition under Chapter 11 of the United States Bankruptcy

      Code.

              2.    Pursuant to §§ 1107 and 1108 of the Code, Debtors are authorized to

      possession of Debtors’ property and to operate and manage Debtors’ business as debtors-

      in-possession.

                                           DEBTORS' BUSINESS

              3.    Sunshine is a limited liability company headquartered in Portland, Multnomah

      County, Oregon. Karamanos is an Oregon corporation headquartered in Portland,

      Multnomah County, Oregon. Debtors are in the business of manufacturing, packaging, and

      distributing dairy, non-dairy, and other related food products throughout the United States of

      America. The Debtors are the successor entity to the dairy delivery business founded in

      1935 by John Karamanos. Debtors’ operations employ over 100 individuals (including

      salaried and hourly employees) in the Portland area at two production locations. Debtors’

      business depends on the daily delivery of fresh food products to restaurants, retailers, and

      other customers, which would be greatly jeopardized by any delay in the Debtors’

      operations.

                    PARTIES WITH POTENTIAL INTERESTS IN CASH COLLATERAL

              4.    The following entities ("Lien Creditors") may claim a lien in the Cash Collateral

      based upon the security interest held by the Lien Creditor for the following collateral:

      ///

      ///

      ///



Page 2 of 8    JOINT MOTION FOR FINAL ORDER AUTHORIZING USE OF CASH              VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
               COLLATERAL OF DEBTORS-IN-POSSESSION AND GRANTING                    319 SW Washington Street, Suite 520
                                                                                      Portland, Oregon 97204-2690
               ADEQUATE PROTECTION                                                           (503) 241-4869

                           Case 18-31644-pcm11       Doc 140    Filed 05/23/18
                                      Loan No.
                                        (last 4
                   Lien                digits) /       Amount           Property            Brief Collateral
                 Creditor             UCC No.           Owing             Value               Description
       Citibank, N.A.                 8248701         Unknown.          $2,568.00    All right, title and interest
       388 Greenwich St., 25th Flr,                   Believed to                    of Debtor in and to all
       Mail Drop 7                                     be $-0-                       accounts and all other
       New York, NY 10013                                                            forms of obligations
                                                                                     (“Accounts Receivable”)
                                                                                     owing to Supplier by
                                                                                     Compass Group- USA,
                                                                                     Inc.
       First Business Capital Corp.   91352308        $9,027,482       $12,740.00*   All Assets wherever
       401 Charmany Dr.                                                              located.
       Madison, WI 53719
      *Property value includes only real estate values, full collateral value is substantially higher.
              5.   Other than the Lien Creditors noted above, Debtors are not aware of any parties

      holding an interest in Cash Collateral. The parties below have filed UCC financing

      statements with the Oregon Secretary of State, but Debtors contend none of the parties

      below have an interest in the Cash Collateral:

                                                  Loan No.
                        Lien                   (last 4 digits)
                       Creditor                  / UCC No.              Brief Collateral Description
         Elm Services                            90451311,          All equipment and personal
         PO Box 15270                            90548548           property, including but not limited
         Irvine, CA 92623-5270                                      to furniture, fixtures and
                                                                    equipment.
         EverBank Commercial Finance, Inc.         90718706-1       Blanket Security Agreement by
         10 Waterview Blvd.                                         Assignment from Summit Funding
         Parsippany, NJ 07054                                       Group
         Banc of California, NA                    90963365         All equipment and personal
         18500 Von Karman Ave.                     90963776         property, including but not limited
         Ste 1100                                                   to furniture, fixtures and
         Irvine, CA 92612                                           equipment.
         ADS Group                                 91069271         All equipment and personal
         PO Box 15270                                               property, including but not limited
         Irvine, CA 92623                                           to furniture, fixtures and
                                                                    equipment.
         TCF Equipment Finance                     91069288-        All equipment and personal
         11100 Wayzata Blvd. #801                  9106288-1        property, including but not limited
         Minnetonka, MN 55305                                       to furniture, fixtures and
                                                                    equipment by Assignment from
                                                                    Balboa Capital Corporation.




Page 3 of 8    JOINT MOTION FOR FINAL ORDER AUTHORIZING USE OF CASH                     VANDEN BOS & CHAPMAN, LLP
                                                                                                   Attorneys at Law
               COLLATERAL OF DEBTORS-IN-POSSESSION AND GRANTING                           319 SW Washington Street, Suite 520
                                                                                             Portland, Oregon 97204-2690
               ADEQUATE PROTECTION                                                                  (503) 241-4869

                          Case 18-31644-pcm11          Doc 140        Filed 05/23/18
                                                 Loan No.
                         Lien                 (last 4 digits)
                       Creditor                 / UCC No.           Brief Collateral Description
         Strada Capital Corporation             91362566        Co-Secured Party with LCA Bank
         23046 Avenida de la Carlota,                           Corporation. All equipment and
         Ste 350                                                personal property, including but
         Laguna Hills, CA 92653;                                not limited to furniture, fixtures and
                                                                equipment
         LCA Bank Corporation                  91362566         Co-Secured Party with Strada - All
         1375 Deer Valley Drive, Ste. 218                       equipment and personal property,
         Park City UT 84060                                     including but not limited to
                                                                furniture, fixtures and equipment
         Multnomah County Tax Collector        91493028         Machinery & Equipment Acct.
                                                                R657806 for tax year 2017/18
         Multnomah County Tax Collector        91493028         Machinery & Equipment Acct.
                                                                R657804 for tax year 2017/18
         Multnomah County Tax Collector        91492965         Machinery & Equipment Acct.
                                                                R646168 for tax year 2017/18
         Multnomah County Tax Collector        91495871         Machinery & Equipment Acct.
                                                                R657804 for tax year 2017/18


              6.   To preserve the value of Debtors’ business as a going concern, Debtors require

      the use of the accounts receivable and cash generated from Debtors’ business to pay

      Debtors’ operating expenses

              7.   Debtors require the use of Cash Collateral to make reasonable and necessary

      payments related to the Debtors’ business including, but not limited to, raw material

      suppliers, ingredient suppliers, re-sale item suppliers, employee payroll with benefits,

      utilities, leases, transportation costs, and packaging costs.

              8.   In order to formulate a plan of reorganization, Debtors require the use of Cash

      Collateral for the payment of operating expenses. Debtors propose to use Cash Collateral

      of $9,270,000.00 over the period commencing May 11, 2018 through July 10, 2018, on the

      terms set forth in the proposed Final Order Authorizing Use of Cash Collateral (“Final

      Order”) attached hereto as Exhibit A. Not less than three (3) days prior to the final hearing

      on use of Cash Collateral, Debtors shall file and serve a proposed 60 day budget to


Page 4 of 8    JOINT MOTION FOR FINAL ORDER AUTHORIZING USE OF CASH                   VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
               COLLATERAL OF DEBTORS-IN-POSSESSION AND GRANTING                         319 SW Washington Street, Suite 520
                                                                                           Portland, Oregon 97204-2690
               ADEQUATE PROTECTION                                                                (503) 241-4869

                         Case 18-31644-pcm11         Doc 140      Filed 05/23/18
      accompany the Final Order. Such Cash Collateral includes, but is not limited to, any

      uncashed checks made payable to the Debtors and cash collateral in possession of a Lien

      Creditor or an agent for a Lien Creditor on the Petition Date.

              9.   Debtors have made reasonable efforts to secure alternative financing. Debtors

      are unable to obtain necessary financial accommodations for its reasonable and necessary

      business expenses from any source.

              10. After reasonable efforts, Debtors are unable, pursuant to §364(a) or (b), to

      obtain unsecured credit allowable under §503(b)(1) as an administrative expense.

              11. Allowing Debtors to use Cash Collateral on the terms set forth in the proposed

      Final Order Authorizing Use of Cash Collateral attached hereto as Exhibit A will maximize

      the value of the Debtors’ assets for the estate, will increase the probability of successful

      reorganization, and is in the best interests of the creditors and this estate.

              12. Without the use of Cash Collateral, Debtors have insufficient funds to meet

      Debtors’ expenses. Debtors have an immediate need for Cash Collateral to pay Debtors’

      operating expenses, including payments for improvements, provide deposits to utilities as

      needed under 11 U.S.C. §366 and make adequate protection payments, all of which will

      preserve the value of Debtors’ business.

              13. The proposed order on this motion does not contain any of the "disfavored

      provisions" listed in LBF #541.7.

                        PROPOSED TERMS OF CASH COLLATERAL ORDER

              14. Debtor further proposes that Debtors’ authority to use Cash Collateral be limited

      to the cumulative amounts and uses of Cash Collateral as will be set forth in the Budget;

      provided however, that Debtors may make expenditures in excess of the amounts specified



Page 5 of 8    JOINT MOTION FOR FINAL ORDER AUTHORIZING USE OF CASH              VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
               COLLATERAL OF DEBTORS-IN-POSSESSION AND GRANTING                    319 SW Washington Street, Suite 520
                                                                                      Portland, Oregon 97204-2690
               ADEQUATE PROTECTION                                                           (503) 241-4869

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      in the forthcoming Budget subject to the limitation that the aggregate budget variance shall

      not exceed ten percent (10%) of any line item expenditures under the Budget for that

      Budget period.

                                 PROPOSED ADEQUATE PROTECTION

              15. Notwithstanding anything to the contrary contained in Section 552(a) of the

      Code, as adequate protection for, and to secure payment of, an amount equal to the

      aggregate diminution (from the Petition Date) in the value of the property of Debtors to

      which any of the liens of the parties identified in paragraph 4 herein shall have attached,

      and as security for and an inducement to said parties to permit use of Cash Collateral,

      Debtors propose to grant to each of them the following protection:

                    a. A replacement lien on all of the post-petition property of the same nature

                         and kind in which each of them has a pre-petition line or security interest.

                         The replacement liens shall have the same relative priority vis-a-vis one

                         another as existed on the petition date with respect to the original liens.

                    b. Debtors shall timely perform and complete all actions necessary and

                         appropriate to protect Lien Creditors' collateral against diminution in value.

                    c.   Subject to Debtors’ sole discretion, or if subsequently ordered by the Court

                         after notice and hearing, to commence making monthly payments of

                         interest only, calculated at the then applicable non-default rates, to each

                         Lien Creditor, beginning not later than the date that is 90 days after entry

                         of the Order for Relief, based on the value of each respective Lien

                         Creditor's interest in their respective collateral.




Page 6 of 8   JOINT MOTION FOR FINAL ORDER AUTHORIZING USE OF CASH                 VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
              COLLATERAL OF DEBTORS-IN-POSSESSION AND GRANTING                       319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
              ADEQUATE PROTECTION                                                              (503) 241-4869

                          Case 18-31644-pcm11         Doc 140     Filed 05/23/18
               A significant equity cushion is in and of itself sufficient adequate protection to support

      a debtor's request or use of cash collateral. See In re Mellor, 734 F2d 1396 (9th Cir, 1984)

      where the Court implied that an equity cushion of 10% is sufficient to adequately protect a

      secured creditor for use of the secured creditor’s cash collateral. Relying on Mellor, the

      Ninth Circuit Appellate Panel has found that adequate protection existed where an 11.45%

      equity cushion existed: See In re Boulders on the River, Inc., 164 B.R. 99 (9th Cir. B.A.P.

      1994).

               16. Here, the Lien Creditors enjoy a sufficient equity cushion to supply adequate

      protection for their interests. First Business Capital Corp. based solely on its real estate

      collateral, enjoys an equity cushion of 40% which is likely understated in light of the

      additional collateral pledged. This far exceeds the Mellor standard for an equity cushion.

      Therefore, First Business Capital Corp. is adequately protected. The other Lien Creditor,

      Citibank, N.A., does not appear, based on the Debtors’ records, to have an outstanding

      claim.

                                                    NOTICE

               17. No creditors' committee under §1102 of the Code has yet been appointed by the

      U.S. Trustee, but Debtors have given notice, as required by Bankruptcy Rule 4001, of this

      motion or pending requisite notice of such motion.

               WHEREFORE, Debtors move the Court for:

               1.   A Final Order Authorizing the Use of Cash Collateral on the terms set forth in

      Exhibit A attached hereto and Granting Adequate Protection.

               2.   An Order after such final hearing on this motion to authorize the expenditures as

      set forth on the forthcoming Budget.



Page 7 of 8     JOINT MOTION FOR FINAL ORDER AUTHORIZING USE OF CASH               VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
                COLLATERAL OF DEBTORS-IN-POSSESSION AND GRANTING                     319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
                ADEQUATE PROTECTION                                                            (503) 241-4869

                           Case 18-31644-pcm11        Doc 140     Filed 05/23/18
              3.   That the Order and each of its terms shall be effective immediately upon entry

      by the Court and the automatic stay of judgment provisions of FRBP 8017(a) shall not apply;

              Dated: May 23, 2018

       MOTSCHENBACHER & BLATTNER LLP                     VANDEN BOS & CHAPMAN, LLP


       By:/s/Nicholas J. Henderson                       By:/s/Douglas R. Ricks
          Nicholas J. Henderson, OSB #074027               Douglas R. Ricks, OSB #044026
          Of Attorneys for Karamanos Holdings, Inc.        Of Attorneys for Sunshine Dairy Foods
                                                           Management, LLC




Page 8 of 8    JOINT MOTION FOR FINAL ORDER AUTHORIZING USE OF CASH            VANDEN BOS & CHAPMAN, LLP
                                                                                          Attorneys at Law
               COLLATERAL OF DEBTORS-IN-POSSESSION AND GRANTING                  319 SW Washington Street, Suite 520
                                                                                    Portland, Oregon 97204-2690
               ADEQUATE PROTECTION                                                         (503) 241-4869

                         Case 18-31644-pcm11       Doc 140    Filed 05/23/18
                                    IN THE UNITED STATES BANKRUPTCY COURT

                                           FOR THE DISTRICT OF OREGON

       In re

       Sunshine Dairy Foods Management, LLC;                    18-31644-pcm11 (Lead Case)
       and
       Karamanos Holdings, Inc.                                 18-31646-pcm11

                                                                FINAL ORDER AUTHORIZING
                                Debtors-in-Possession.          USE OF CASH COLLATERAL

                THIS MATTER came before the Court on June 6, 2018 on the joint motion of Debtor-

      in-Possession, Sunshine Dairy Foods Management, LLC (“Sunshine”) and Karamanos

      Holdings, Inc. (“Karamanos”) (Proposed Joint Debtor-in-Possession – Motion Pending)

      (collectively “Debtors”), for Final authority to use cash collateral, due and adequate notice

      under the circumstances having been given, and the Court having heard the

      representations and argument of counsel, and being otherwise fully advised,

                The Court finds that:

                A.        On May 9, 2018 (the "Petition Date"), Debtors filed a voluntary petition for

      relief under Chapter 11 of the Bankruptcy Code (the "Code"). The Debtors continue in


Page 1 of 9      FINAL ORDER AUTHORIZING USE OF CASH COLLATERAL                       VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
                                                                                        319 SW Washington Street, Suite 520
      Exhibit A - Page 1 of 9                                                              Portland, Oregon 97204-2690
                                                                                                  (503) 241-4869

                                  Case 18-31644-pcm11    Doc 140     Filed 05/23/18
      possession of Debtors’ property and management of Debtors’ businesses as debtors-in-

      possession, in accordance with 11 U.S.C. §§ 1107 and 1108. No trustee or examiner has

      been appointed. The Court has jurisdiction over this case under 28 U.S.C. §§ 157 and

      1334. Venue of this case is properly in this District under 28 U.S.C. §§ 1408 and 1409.

      This matter is a core proceeding under 28 U.S.C. §157(b), 11 U.S.C. §§ 105(a) and 363 of

      the Code, FRBP 4001 and LBR 4001-1.D.

                B.        Without the use of Cash Collateral, Debtors assert they have insufficient funds

      to meet their expenses and other payments set forth in the Budget. Debtors assert there is

      an immediate need to use Cash Collateral to pay Debtors’ payroll and other operating

      expenses and to preserve the value of Debtors’ business.

                C.        Debtors assert they will suffer immediate and irreparable harm if Debtors are

      not permitted to use up to $9,270.000 for the period covering May 11, 2018 through July 10,

      2018, in the amount and for the purposes set forth in the Budget, to meet Debtors’

      necessary and ordinary course post-petition operating expenses prior to the time prescribed

      by FRBP 4001(b)(2) for a final hearing for authority to use Cash Collateral.

                D.        Debtors assert that the following creditors, (the “Lien Creditors”), appear to

      have security interest/liens upon the Cash Collateral as of the petition date:

                                              Loan No.
                   Lien                    (last 4 digits)    Amount           Property                       Brief
                 Creditor                    / UCC No.         Owing             Value             Collateral Description
       Citibank, N.A.                         8248701        Unknown.          $2,568.00       All right, title and interest of
       388 Greenwich St., 25th Flr,                          Believed to                       Debtor in and to all
       Mail Drop 7                                            be $-0-                          accounts and all other
       New York, NY 10013                                                                      forms of obligations
                                                                                               (“Accounts Receivable”)
                                                                                               owing to Supplier by
                                                                                               Compass Group- USA, Inc.
       First Business Capital Corp.          91352308        $9,027,482      $12,740,000       All Assets wherever
       401 Charmany Dr.                                                           *            located.
       Madison, WI 53719
      * Property value includes only real estate values, full collateral value is substantially higher.

Page 2 of 9      FINAL ORDER AUTHORIZING USE OF CASH COLLATERAL                                  VANDEN BOS & CHAPMAN, LLP
                                                                                                            Attorneys at Law
                                                                                                   319 SW Washington Street, Suite 520
      Exhibit A - Page 2 of 9                                                                         Portland, Oregon 97204-2690
                                                                                                             (503) 241-4869

                                Case 18-31644-pcm11           Doc 140       Filed 05/23/18
                E.        Other than the Lien Creditors noted above, Debtors are not aware of any

      parties holding an interest in Cash Collateral. The parties below have filed UCC financing

      statements with the Oregon Secretary of State, but Debtors contend none of the parties

      below have an interest in the Cash Collateral:

                      Lien                 Loan No. (last 4
                    Creditor               digits) / UCC No.         Brief Collateral Description
          Elm Services                        90451311,        All equipment and personal property,
          PO Box 15270                        90548548         including but not limited to furniture,
          Irvine, CA 92623-5270                                fixtures and equipment.
          EverBank Commercial                90718706-1        Blanket Security Agreement by
          Finance, Inc.                                        Assignment from Summit Funding
          10 Waterview Blvd.                                   Group
          Parsippany, NJ 07054
          Banc of California, NA              90963365         All equipment and personal property,
          18500 Von Karman Ave.               90963776         including but not limited to furniture,
          Ste 1100                                             fixtures and equipment.
          Irvine, CA 92612
          ADS Group                           91069271         All equipment and personal property,
          PO Box 15270                                         including but not limited to furniture,
          Irvine, CA 92623                                     fixtures and equipment.
          TCF Equipment Finance               91069288-        All equipment and personal property,
          11100 Wayzata Blvd. #801            9106288-1        including but not limited to furniture,
          Minnetonka, MN 55305                                 fixtures and equipment by Assignment
                                                               from Balboa Capital Corporation.

          Strada Capital Corporation          91362566         Co-Secured Party with LCA Bank
          23046 Avenida de la                                  Corporation. All equipment and
          Carlota, Ste 350                                     personal property, including but not
          Laguna Hills, CA 92653;                              limited to furniture, fixtures and
                                                               equipment
          LCA Bank Corporation                91362566         Co-Secured Party with Strada - All
          1375 Deer Valley Drive,                              equipment and personal property,
          Ste. 218                                             including but not limited to furniture,
          Park City UT 84060                                   fixtures and equipment
          Multnomah County Tax                91493028         Machinery & Equipment Acct.
          Collector                                            R657806 for tax year 2017/18
          Multnomah County Tax                91493028         Machinery & Equipment Acct.
          Collector                                            R657804 for tax year 2017/18
          Multnomah County Tax                91492965         Machinery & Equipment Acct.
          Collector                                            R646168 for tax year 2017/18
          Multnomah County Tax                91495871         Machinery & Equipment Acct.
          Collector                                            R657804 for tax year 2017/18




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                NOW, THEREFORE, it is ORDERED as follows:

                1.        Debtors are authorized to use Cash Collateral not to exceed $9,270.000 for

      the period covering May 11 2018 through July 10, 2018 (the “Budget Period”), for the

      purposes specified in the Budget attached hereto as Exhibit 1. Debtors authority to use

      Cash Collateral is limited to the cumulative amounts and uses of Cash Collateral as set forth

      in the Budget; provided however, that Debtors may make expenditures in excess of the

      amounts specified in the Budget subject to the limitation that the budget variance shall not

      exceed ten percent (10%) of any line item expenditures under the Budget for the Budget

      Period. Debtors may only make expenditures on account of the line item related to

      “Contingency – Other” for ordinary and necessary business expenses unless otherwise

      approved by separate order of this Court and may not make any distributions to affiliates or

      insiders or make any payment prohibited by Paragraph 11 of this Order.

                2.        Notwithstanding anything to the contrary contained in 11 U.S.C. §552(a), as

      adequate protection for, and to secure payment of, an amount equal to the diminution in the

      value, if any, of Lien Creditors’ collateral arising from Debtors’ use of the Cash Collateral

      post-petition, the Lien Creditors are each granted the following adequate protection:

                          a)     A perfected lien and security interest on all property, whether now

                                 owned or hereafter acquired by Debtors, or either of them, of the same

                                 nature and kind as secured the claim of the Lien Creditor on the Petition

                                 Date (the “ Replacement Lien”); provided, however, that such

                                 Replacement Lien shall not attach to avoidance or recovery actions of

                                 Debtors’ estate under Chapter 5 of the Code; and provided, further, that

                                 such Replacement Lien shall be subject to all valid, properly perfected

                                 and enforceable liens and interests that existed as of the Petition Date

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                                 (such property on which the Replacement Lien shall attach being

                                 referred to herein as the "Replacement Collateral").

                          b)     The interests of the Lien Creditors in the Replacement Collateral shall

                                 have the same relative priorities as the liens held by them as of the

                                 Petition Date.

                          c)     Debtors shall timely perform and complete all actions necessary and

                                 appropriate to protect the Cash Collateral against diminution in value.

                          d)     The Replacement Lien on the Replacement Collateral shall be

                                 perfected and enforceable upon entry of this Order without regard to

                                 whether such Replacement Lien is perfected under applicable non-

                                 bankruptcy law.

                          e)     The Replacement Lien shall be in addition to all other liens and security

                                 interests securing the secured claims of the Lien Creditors in existence

                                 on the Petition Date. Nothing in the Order shall abridge or limit Lien

                                 Creditors’ security interests in proceeds, products or profits to extent

                                 provided under Section 552 of the Bankruptcy Code.

                          f)     Debtors shall keep Lien Creditors’ collateral and Replacement

                                 Collateral free and clear of all other liens, encumbrances and security

                                 interests, other than those in existence on the Petition Date, and shall

                                 pay when due all taxes, levies and charges arising or accruing from and

                                 after the Petition Date.

                          g)     Upon reasonable prior notice, Debtors shall allow Lien Creditors access

                                 during normal business hours to Debtors’ premises to inspect or

                                 appraise their collateral.

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                          h)     If, notwithstanding the adequate protection provided by the terms of this

                                 Order, any of the Lien Creditors has a claim allowable under 11 U.S.C.

                                 §507(a)(2) arising from the stay of action against property of Debtors

                                 under 11 U.S.C. §362, from the use, sale or lease of such property

                                 under 11 U.S.C. §363, or from the granting of the replacement lien

                                 granted herein, then such Lien Creditor’s claim under 11 U.S.C.

                                 §507(a)(2) shall have priority over every other claim under such

                                 subsection as provided by 11 U.S.C. §507(b).

                3.        This Order shall be deemed to constitute a security agreement under the

      applicable provisions of the Uniform Commercial Code (“UCC”) in effect in states where the

      Debtor (a) is domiciled, (b) operates its business, and (c) maintains its principal place of

      business. The Replacement Lien granted hereby shall be a valid, perfected and

      enforceable security interest and lien on the property of the Debtors and the Debtors’ estate

      without further filing or recording of any document or instrument or any other action, but only

      to the extent of the enforceability of Lien Creditors’ security interests in the Prepetition

      Collateral. Notwithstanding the foregoing, the Debtors are authorized and directed to

      execute and deliver to Lien Creditor(s) such financing statements, instruments and other

      documents as Lien Creditor(s) may deem necessary or desirable from time to time. To the

      extent necessary, the automatic stay in effect pursuant to 11 U.S.C. § 362 is hereby

      modified and lifted to permit the granting of the Replacement Lien as set forth herein.

                4.        Nothing in this Order shall be construed to (a) prejudice a right of any party in

      interest (including Debtors) to contest the validity, priority or extent of the liens or security

      interests of any party in any collateral or in the proceeds thereof, as of, on or after the

      Petition Date; (b) grant a security interest in the debtor-in-possession or trustee's avoidance

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      powers; (c) convert any pre-petition obligations into post-petition obligations; (d) require

      payment of any obligations on confirmation of a plan of reorganization; (e) alter, improve,

      limit or impair the rights, if any, of parties claiming to have rights of reclamation against

      Debtors, or Debtors’ assets or (f) enhance the secured position of any creditor as of the

      Petition Date.

                5.        Debtors are authorized to execute and deliver to the Lien Creditors such

      instruments considered by them to be necessary or desirable to perfect the security

      interests and liens given to them herein, and said parties are authorized to receive, file and

      record the same.

                6.        On Wednesday of each week during the term of this Order, Debtors shall

      provide Lien Creditors and the chairperson and counsel for the Creditor’s Committee with

      the following reports in a form reasonably satisfactory to Lien Creditors: (a) a weekly budget

      variance and reconciliation report that compares Debtors’ actual sales, cash receipts and

      disbursement to the Budget, in each case both for the week through Friday of the

      immediately preceding the week and for the period beginning May 11, 2018, through the

      last day of such reporting period; (b) a weekly borrowing base report as required by Debtors’

      loan and security agreements with Lien Creditors; and (c) a weekly print out of all activity in

      Debtors’ Debtor-in-Possession bank accounts with Key Bank or any other financial

      institution.

                7.        Absent further Order of the Court, Debtors’ authority to use cash collateral

      shall terminate at 5:00 pm upon July 10, 2018 or the occurrence of any of the following: (a)

      the violation of the any of the terms of this Order, (b) the entry of an Order converting this

      case to a case under Chapter 7 of the Bankruptcy Code, (c) the termination, lapse,



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      expiration or reduction of insurance coverage on Lien Creditors’ collateral for any reason, or

      (d) the appointment of a trustee in this case.

                8.        Nothing contained in this Order shall constitute a determination as to the

      amount, validity or priority of any pre-petition obligation, security interest or lien and all rights

      or parties in interest to claim that any pre-petition lien or security interest in Debtors’

      property is unperfected, unenforceable, invalid or voidable, are reserved. Additionally,

      nothing in this Order shall constitute an admission or acknowledgment by Debtors that any

      party has a valid or perfected lien in the cash of Debtors now existing or subsequently

      received, and the references herein to "Cash Collateral" is without prejudice to all rights,

      defenses and claims of Debtors to contend that any party does not have a perfected lien or

      security interest in such cash.

                9.        The provisions hereof and the effect of any actions taken hereunder shall

      survive issuance and entry of any order: (a) confirming any plan of reorganization or

      liquidation; (b) appointing a trustee or examiner for the Debtors; (c) converting Debtors’ case

      to one under Chapter 7 of the Code; or (d) dismissing Debtors’ case. The priorities, liens

      and security interests granted herein shall continue in these or any superseding cases

      under the Code, and any such liens and security interests shall maintain their priority as

      provided herein until satisfied and discharged subject to the Code.

                10.       In the event any or all of the provisions of this Order are hereafter modified,

      amended or vacated by a subsequent order of this or any other court, no such modification,

      amendment or vacation shall affect the validity and enforceability of any lien or priority

      authorized or created hereby. Notwithstanding any such modification, amendment or

      vacation, any claim granted hereunder arising prior to the effective date of such



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      modification, amendment or vacation shall be governed in all respects by the original

      provisions of this Order.

                11.       This Order does not grant authority to the Debtors to pay any pre-petition

      obligation, expense, or debt or to pay any administrative expense claims under Section

      503(b)(9). Debtors may only pay such administrative expense claims upon further order of

      this Court after the filing of an appropriate motion and notice of the same.

                12.       Debtor’s authority to use Cash Collateral may be extended beyond the amount

      in Paragraph 1 or the Budget Period by mutual agreement of the Debtor, First Business

      Capital Corporation and the Creditor’s Committee. In the event of such agreement, Debtor

      may submit a further order allowing the use of Cash Collateral without an additional motion

      or hearing. Notice of the proposed extension, including the applicable Budget, shall be

      provided to the U.S. Trustee and the Creditors’ Committee with 14 days for filing objections

      thereto. If no objections are received, the extension order will take effect upon its stated

      date of commencement.

                                                         ###

                I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).

      PRESENTED BY:


       VANDEN BOS & CHAPMAN, LLP                                   First Class Mail:

                                                                   See Attached List.
       By:/s/Douglas R. Ricks
         Douglas R. Ricks, OSB #044026                             Electronic Mail:
         Of Attorneys for Debtor-in-Possession
                                                                   The foregoing was served on all CM/ECF
                                                                   participants through the Court's Case
                                                                   Management/Electronic Case File system.
       MOTSCHENBACHER & BLATTNER LLP

       By:/s/Nicholas J. Henderson
          Nicholas J. Henderson, OSB #074027
          Of Attorneys for Karamanos Holdings, Inc.

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